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                        IN THE UNITED STATES DISTRICT COURT
                                                                                            UNSWI ici'S U+Y.
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION
                                                                                      1005 NO V



UNITED STATES OF AMERIC A

                                                                        CASE NO. : CR205-3 4
                  V.


MOHAMMED SHAUKAT JAMAL
ASHISKUMAR G . PATEL
HERMANT K . PATEL
YOGESHUMAR PATEL
SANJAYKUMAR A . PATEL



                                                 ORDER

         After an independent review of the record, the Court concurs with the Report an d

Recommendation of the Magistrate Judge, to which Defendant SanjaykumarA. Patel

("Patel") filed Objections . The Government filed a response . In his Objections, Patel avers

that he did not make a knowing and intelligent waiver of his Miranda' rights, Patel

contends that his need for an interpreter at trial "strongly suggests that he could not have

comprehended English to the degree necessary" to make "any knowing or intelligent waiver

of his rights ." (Def. Obj ., p. 7 .) There is no evidence in this case to support Patel's

assertion that he " . . .speaks only limited, halting English and his understanding of English

is severely limited ." Relying on non-controlling authority, Patel argues that his

Supplemental Motion to Suppress should be granted . Although language difficulties are

a significant consideration when assessing a defendant's voluntary waiver of his:Mirand a



1 Miranda v . Arizona , 384 U .S . 436, 86 S, Ct . 1602, 16 L . Ed .2d 694 (1966) .
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rights, it is not the only consideration . The Magistrate Judge appropriately assessed the

"totality of the circumstances" surrounding Patel's interview and accurately determined that

he made a knowing and intelligent waiver of his Miranda rights . See Moran v . Burbine , 475

U .S . 412, 421, 106 S . Ct . 1135, 1141, 89 L . Ed .2d 410, 421 (1986) .

       Patel's Objections are without merit . The Magistrate Judge's Report and

Recommendation is adopted as the opinion of the Court . Patel's Supplemental Motion to

Suppress is DENIED .

       SO ORDERED , this Y day of , 2005 ;




                                            JUDGE, UNITE-P STATES DISTRICT COURT
                                            SOUTHERN DI TRICT OF GEORGIA
